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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 UMG RECORDINGS, INC., et al.,
                                                §
           Plaintiffs,                          §
                                                §
 vs.                                            §
                                                §     Civil Action No. 1:17-cv-00365-LY
 GRANDE COMMUNICATIONS                          §
 NETWORKS LLC and PATRIOT MEDIA                 §
 CONSULTING, LLC,                               §
                                                §
           Defendants.                          §

ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION AND UNOPPOSED
 SUPPLEMENTAL MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN
   EXHIBITS TO PLAINTIFFS’ OPPOSITION TO DEFENDANT GRANDE
    COMMUNICATIONS NETWORKS LLC’S MOTION FOR SUMMARY
     JUDGMENT AND PLAINTIFFS’ CROSS-MOTION FOR SUMMARY
                  JUDGMENT AS TO LIABILITY

         BEFORE THE COURT are Plaintiffs’ Unopposed Motion for Leave to File Under

Seal Certain Exhibits to Plaintiffs’ Opposition to Defendant Grande Communications

Networks LLC’s Motion for Summary Judgment and Plaintiffs’ Cross-Motion for

Summary Judgment as to Liability and Plaintiffs’ Supplemental Unopposed Motion for

Leave to File Under Seal Certain Exhibits to Plaintiffs’ Opposition to Defendant Grande

Communications Networks LLC’s Motion for Summary Judgment and Plaintiffs’ Cross-

Motion for Summary Judgment as to Liability (together, the Motion). The Court has

considered the Motion and finds that it should be and is hereby GRANTED.

         The Clerk is hereby directed to file the following exhibits to Plaintiffs’ Opposition

to Defendant Grande Communications Networks LLC’s Motion for Summary Judgment



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and Plaintiffs’ Cross-Motion for Summary Judgment as to Liability under seal until

further order from the Court:

Exhibit A—Declaration of Alasdair McMullan (Universal Plaintiffs) and all of its sub-
exhibits

Exhibit B—Declaration of Wade Leak (Sony Plaintiffs) and all of its sub-exhibits

Exhibit C—Declaration of Steve Poltorak (Warner Plaintiffs) and all of its sub-exhibits

Exhibit D—Expert Report of William H. Lehr, Ph.D. (July 13, 2018)

Exhibit E—Excerpts from Deposition of Neil Carfora (August 3, 2018)

Exhibit F—Expert Reply Report of William H. Lehr, Ph.D. (August 17, 2018)

Exhibit G—Excerpts from Deposition of David Benjamin (August 29, 2018)

Exhibit H—Expert Report of Barbara Frederiksen-Cross (July 27, 2018)

Exhibit I—Declaration of Gregory Boswell in Support of Plaintiffs’ Opposition to
Defendant Grande Communications Networks LLC’s Motion for Summary Judgment
and Plaintiffs’ Cross-Motion for Summary Judgment

Exhibit J—Excerpts from Deposition of Christopher Sabec (July 7, 2015)

Exhibit K—Expert Report of Robert A. Bardwell (July 13, 2018)

Exhibit M—Excerpts from Deposition of Colin Bloch (June 20, 2018)

Exhibit O—PX-137 (GRANDE0000115-0000124)

Exhibit Q—PX-169 (GRANDE2539474-2539478)

Exhibit S—GRANDE0000194

Exhibit T—GRANDE0000195

Exhibit V—PX-0173 (GRANDE2542672; GRANDE2546001)

Exhibit X—PX-206 (GRANDE2439310)

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Exhibit Y—PX-207 (GRANDE2482342)

Exhibit Z—Expert Report of Dr. Terrence P. McGarty (July 13, 2018)

Exhibit AA—Reply of Robert A. Bardwell to the Report of Jonathan E. Kemmerer
(August 17, 2018)

Exhibit CC—PX-60

Exhibit DD—PX-61

Exhibit FF—PX-91 (GRANDE0000009-0000010)

Exhibit GG—Universal Plaintiffs’ Objections and Responses to Defendants’ Third Set of
Interrogatories

         SIGNED on this ____ day of ______________________, 2018.




                                              LEE YEAKEL
                                              UNITED STATES DISTRICT JUDGE




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